Case 2:04-cr-20273-.]PI\/| Document 54 Filed 07/13/05 Page 1 of 3 Page|D 76

FILED 81‘5.’2,\£_§ .F_._.._..D.O.
IN THE UNITED STATES DISTRIC'I' COURT

FoR THE wEsTERN DIsTRICT oF TENNESSEE _
WESTERN DIVISION 05 JU'- |2 PH |- 113

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UNITED sTATEs oF AMERICA, "J"”,D[;M'

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‘.'V¢ Ur lI"§, ?.'!`:MDH!S
Plaintiff,
v. Crimioal No. 04-20273 MIO
c.

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l JON PHIPPS MCCA:.|-i:'¢"::-`
l"|:“' “ ulsl! DISTRICT JUD\J]'_|

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200b

BRADFORD GENE WILLIAMS,

  
    

Defendant.

 

 

The United States of America, by and through Terrell L. Harris, United States Attorney for
the Western District of Tennessee, and David C. Henry, Assistant United States Attorney,
respectfully requests a continuance of the sentencing healing in the above referenced matter. The
sentencing hearing is currently set for July 14, 2005 at 9:00 a.m.

Counsel for the government Will be in trial on July 14, 2005. The government is requesting

this Honorable Couxt to continue for thirty (30) days from July 14, 2005. The government has

spoken with defense counsel, Robert Brannon and he has no objection to the continuance of the

sentencing hearing.

Respectfully submitted,

D.C.

TERRELL L. HARRIS
United States Attomey

_.-L_

BY: /BZ%//Wc//z"é§//”?
A`vlo C. HENRY \\

Assistant United States Attorney

167 N. Main, Room 1026

Memphis, TN 38103

(#012986 Tennessee)

 

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Case 2:04-cr-20273-.]PI\/| Document 54 Filed 07/13/05 Page 2 of 3 Page|D 77

CERTIFICATE OF SERVICE
I, David C. Henry, Assistant United States Attomey for the Westem District of Tennessee,
hereby certify that a copy of the foregoing motion has been sent, first class postage pre-paid, to
Robert Brannon, counsel for the defendant, 295 Washington Avenue, Suite 3, Memphis, Tennessee
381 03.

This 12th day of July, 2005.

 

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VID C. HENRY

Assistant United States Attomey

   

UNITED sTATE DISTRIC COURT - WTERN D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 54 in
case 2:04-CR-20273 Was distributed by faX, mail, or direct printing on
July 14, 2005 to the parties listed.

 

 

David Charles Hem'y

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Lee HoWard Gerald

LAW OFFICE OF LEE GERALD
8 S. Third St.

Fourth Floor

l\/lemphis7 TN 38103

Robert M. Brannon

LAW OFFICE OF ROBERT M. BRANNON
295 Washington Avenue

Ste. 3

l\/lemphis7 TN 38103

Leslie I. Ballin

BALLIN BALLIN & FISHMAN
200 Jefferson Ave.

Ste. 1250

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

